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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF SOUTH CAROLINA

 In re:
                                                         Case No. Case No. 19-02879-dd
 Walker Russell Harter, Sr.,                             Chapter 7

                                   Debtor.
                                                                 Adv. Pro. No. 19-80094-dd
 The Estate of Jack Morris, Harry Mole,
 Evelyn Mole, Bobby Wilson, Jr., Michael                  MEMORANDUM IN OPPOSITION TO
 Artie Howard, Akeya Johnson, Sharon                     MOTION FOR SUMMARY JUDGMENT
 Duggan, Laquintun Davis, Ulysee Bunch,
 Wilbert Golden, Teresa Golden, Bobby
 Wilson, Sr., the Estate of William Simmons,
 James Freeman, Vincent Tony Howard and
 Dominique Stewart,

                             Plaintiffs,

 v.

 Walker Russell Harter, Sr.,

                            Defendant


          The Plaintiffs, The Estate of Jack Morris, Harry Mole, Evelyn Mole, Bobby Wilson, Jr.,

Michael Artie Howard, Akeya Johnson, Sharon Duggan, Laquintun Davis, Ulysee Bunch, Wilbert

Golden, Teresa Golden, Bobby Wilson, Sr., the Estate of William Simmons, James Freeman,

Vincent Tony Howard and Dominique Stewart (the “Plaintiffs”), by and through their undersigned

counsel, file this memorandum in opposition to the Motion for Summary Judgment or Judgment on

the Pleadings filed by Walker Russell Harter, Sr. (“Debtor” or “Defendant”).

                                      PROCEDURAL HISTORY

          First, in the discussion of the procedural history, the Debtor appears to confuse the difference

between issue preclusion and claims preclusion. While it is true in cases of default, none of the


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issues are actually litigated and therefore the legal theory of issue preclusion does not apply, claims

preclusion is routinely and required to be applied by federal courts. As the South Carolina

Bankruptcy Court recognized in In re Ford, "the preclusive effect of a state court judgment in

federal court depends upon state law." No. 05-44958-jw, 2006 Bankr. LEXIS 821, *7 (Bankr. D.S.C.

Mar. 10, 2006) (citing Levine v. McLeskey, 164 F.3d 210, 213 (4th Cir. 1998) and In re Swilley, 295

B.R. 839, 846 (Bankr. D.S.C. 2003)). In South Carolina, claims preclusion or "[r]es judicata

requires three elements: (1) the judgment must be final, valid and on the merits; (2) the parties in

the subsequent action must be identical [to the parties] in the first; (3) the second action must

involve matters properly included in the first action." Latimer v. Farmer, 360 S.C. 375, 385, 602

S.E. 2d 32, 37 (2004) (citing Plum Creek Dev. Co. v. City of Conway, 334 S.C. 30, 512 S.E.2d 106

(1999)). When the State Court order has not been appealed or challenged by a motion for relief

from judgment or order, even though the Order is a default judgment, it constitutes a final judgment

on the merits. 18 C. Wright, A. Miller, & E. Cooper, Federal Practice and Procedure § 4442 (1981);

see also Bobo v. Vanderbilt Mortg. & Fin., Inc. (In re Bobo), Adversary Pro. No. 07-80057-HB,

2008 Bankr. LEXIS 165, *13-15 (S.C. Bankr. 2008).

        Thus, while issue preclusion may not apply, claims preclusion does apply.

                  STANDARD ON MOTION FOR SUMMARY JUDMGNET

        Rule 56(c) of the Federal Rules of Civil Procedure, applicable to adversary proceedings

under the Bankruptcy Code by Federal Rule of Bankruptcy Procedure 7056, provides that summary

judgment shall be granted "if the pleadings, depositions, answers to interrogatories and admissions

on file, together with the affidavits, if any, show that there is no genuine issue as to any material fact

and that the moving party is entitled to a judgment as a matter of law." Fed.R.Civ.P. 56. Summary

judgment is appropriate "if the evidence is such that a reasonable jury could not return a verdict for

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the nonmoving party." Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S.Ct. 2505, 91

L.Ed.2d 202 (1986). In determining whether summary judgment is appropriate, the court must view

all evidence in the light most favorable to the nonmoving party. See Matsushita Elec. Indus. Co. v.

Zenith Radio Corp., 475 U.S. 574, 587, 106 S.Ct. 1348, 89 L.Ed.2d 538 (1986).

        The moving party has the initial burden to show that there is no genuine issue as to any

material fact and that it is entitled to judgment as a matter of law. Celotex Corp. v. Catrett, 477 U.S.

317, 332, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986). Once this initial showing is made, the burden of

production shifts to the nonmoving party. The nonmoving party must "go beyond the pleadings and

by [its] own affidavits, or by the 'depositions, answers to interrogatories, and admissions on file,'

designate 'specific facts showing that there is a genuine issue for trial.' " Id. at 324, 106 S.Ct. 2548;

see also Fed.R.Civ.P. 56(e). In meeting this burden, the nonmoving party "must do more than simply

show that there is some metaphysical doubt as to the material facts and must demonstrate there is

a genuine issue for trial." Matsushita, 475 U.S. at 586-87, 106 S.Ct. 1348; see also Campbell v.

Deans (In re J.R. Deans Co.), 249 B.R. 121, 128 (Bankr. D.S.C. 2000) (quoting Dunes Hotel Assoc.

v. Hyatt Corp. (In re Dunes Hotel Assoc.), 194 B.R. 967, 976 (Bankr.D.S.C.1995)) (" '[T]he party

opposing summary judgment may not merely rely on his pleadings but must set forth specific facts

which controvert the moving party's facts and which show the existence of a genuine issue for trial.'

"). The Court should grant summary judgment "against a party who fails to make a showing

sufficient to establish the evidence of an element essential to that party's case, and on which that

party will bear the burden of proof at trial." Dunes Hotel Assoc., 194 B.R. at 976 (citing Celotex, 477

U.S. at 322, 106 S.Ct. 2548).

        In this case, the initial burden has not been met. The Debtor provides no affidavit or

evidence to support his allegations. Thus, the Motion should be denied. Instead of meeting his

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burden of proof, the Debtor instead argues alleged facts, without support. The Plaintiffs have

brought three causes of action. The Debtor challenges the three causes of action.

1. Denial of Discharge under 11 U.S.C. §523(a)(4)

       Under Section 523(a)(4), a debt is excepted from discharge if it arises from “fraud or

defalcation while acting in a fiduciary capacity, embezzlement or larceny.” The Debtor points to

Bullock v. BankChampaign, N.A. 569 U.S.267, 133 S.Ct. 1754 (2013), as the reason the Debtor is

entitled to Summary Judgment. The Debtor states that this case requires a showing of “an

intentional wrong.” The Judgments against the Debtor in this case are attached to and incorporated

into the Complaint. Each judgment finds that the Debtor committed: a. Negligence, gross

negligence and recklessness; b. conversion, c. outrage, d. breach of fiduciary duty; and breach of

contract accompanied by a fraudulent act. Thus, each judgment finds that the Debtor owed a

fiduciary duty to each Plaintiff. Each judgment finds that the Debtor intentionally converted the

funds of the Plaintiff, specifically finding that the Debtor was “dishonest in fact, unfair in [his]

dealings, and unlawfully appropriated funds in [his] contractual dealings with the plaintiffs.” See

e.g. Exhibit 1 to Complaint Doc 1-1, p. 7 at ¶18; Doc 1-2, p. 6, at ¶14; Doc 1-3 (same); Doc 1-4

(Same); Doc 1-5 (Same); Doc 1-6 (Same); Doc 1-7 (Same); Doc 1-8 (Same); Doc 1-9 (Same); Doc

1-10 (Same); Doc 1-12 (Same); Doc 1-13 (Same); Doc 1-14 Same). Each judgment finds that the

Debtor’s culpability is equal to his son and that the Debtor engaged in “wrongful conducted intended

to harm the plaintiffs.” Each judgment awards punitive damages against the Debtor and an award

of punitive damages establishes the required intentional wrong. Thus, contrary to the unsupported

position of the Debtor, the Judgments clearly provide evidence of the necessary elements of this

cause of action and the Motion for Summary Judgment should be denied.

2. Denial of Discharge Under 11 U.S.C. §523(a)(6)

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       Under Section 523(a)(6), the Plaintiff must show that the Debtor’s actions were “willful” and

malicious”. See First National Bank of Maryland v. Stanley (In re Stanley), 66 F.3d 664, 667-668

(4th Cir. 1995). To prove willfulness, the Plaintiff must show the debtor acted with the intent to

harm. This Court has long recognized that when a debtor steals someone’s money, they intend to

harm that person. See Internet Auto. Group v. Shaffer (In re Shaffer), 305 B.R. 771, 776, (S.C.

Bankr. 2004), 2004 Bankr. LEXIS 255, 11, 51 Collier Bankr. Cas. 2d (MB) 1423 (Debtor's failure

to deliver the $ 69,700.00 in proceeds from the sale of the Group Two Vehicles constitutes

conversion and therefore meets the requirements of § 523(a)(6)). Thus, like all of the other cases

in which the Debtor converted the Plaintiff’s money, in this case, the Debtor’s obligations to the

Plaintiff should not be discharged and the motion for summary judgment should be denied.

3. Denial of Discharge Under 11 U.S.C. §523(a)(11)

       Under Section 523(a)(11), the Bankruptcy Court will deny the discharge of any debt

“provided in any final judgment ... arising from any act of fraud or defalcation while acting in a

fiduciary capacity committed with respect to any depository institution”. In opposing this cause of

action, the Debtor makes the misstatement that the judgments do not allege any financial

malfeasance was committed by the Debtor or that the Debtor was a fiduciary to the Plaintiffs. The

judgments are to the contrary. See Doc 1-1, ¶15 “I find the defendants stood in a fiduciary

relationship with the plaintiffs, namely Banker and Account Holder, respectively” and ¶16 “I find

the Defendants breached their fiduciary duties to plaintiffs with willful, wanton, and reckless

disregard for the plaintiffs’ rights”; Doc 1-2 (same); Doc 1-3 (same); Doc 1-4 (same); Doc 1-5

(same); Doc. 1-6 (same); Doc 1-7 (same); Doc 1-8 (same); Doc 1-9 (same); Doc 1-10 (same); Doc

1-12 (same); Doc 1-13 (same); Doc 1-14 (same). The Simmons Transcript of judgment was

included in the Complaint. Attached hereto as Exhibit 1 is a copy of the actual Judgment in favor

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of Simmons. In the Simmons’ Judgment, the Court finds that “Simmons entrusted Defendants

Walker, Jr. and Defendant Walker, Sr. with his money and they breached that trust.” Exhibit 1 at

Findings of Fact ¶7. Further the Court found that Walker, Sr.’s “culpability is equal to Walker, Jr.”.

Exhibit 1 at Conclusions of Law ¶10.

       Thus, contrary to the unsupported allegations in the Plaintiff’s motion for summary

judgment, there is ample and uncontested evidence to support the cause of action under Section

523(a)(11). Therefore the Motion for Summary Judgment should be denied.

                                          CONCLUSION

       The Defendant has failed to meet his burden under Rule 56 of the Federal Rules of Civil

Procedure. He has provided no evidence to contest this complaint. To the contrary, the uncontested

facts as provided for in the Judgments that have been incorporated into the Complaint establish that

the obligations of the Defendant to the Plaintiffs should not be discharged under Sections 523(a)(4);

523(a)(6) and 523(a)(11).




                                               /s/ Richard R. Gleissner
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                                               Davis, Ulysee Bunch, Wilbert Golden, Teresa
                                               Golden, Bobby Wilson, Sr., the Estate of William
                                               Simmons, James Freeman, Vincent Tony Howard and
                                               Dominique Stewart
Dated: January 7, 2020


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